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        EXHIBIT
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         < Map                       Details            Open in Map


          ATTRIBUTES


          Crossing ID                                                     I
          744538A



          Railroad
          NOGC



          Street Name
          DERBIGNY ST                                                     ‘t




          Type
          Public


                                                                          %
          Quiet Zone
          No

                                                                          I
          Milepost
          0003.31




          U.S.DOT RECORDS



          Inventory Record


          Collision Report



          SEND FRA INFO ABOUT THIS CROSSING


          Email




          REPORT EMERGENCY OR PROBLEM
                                                                          I
          ENS: (866) 777-3388

          (Refer to onsite signage or call 911 if above is blank)
